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Attorneys for Plaintiff
UNITED STATES DISTRICT COURT

SOUTHERN DISTRICT OF NEW YORK

PHUONG LE,
Case No.::
Plaintiff,
COMPLAINT FOR:
Vv.
(1) Violation of § 14 (a) of the Securities
NOBLE CORPORATION, ROBERT W. Exchange Act of 1934
EIFLER, PATRICK J. BARTELS, JR., ALAN ‘olation of Cth ti
J. HIRSHBERG, ANN PICKARD, CHARLES | ae ne * ea the Securities
SLEDGE, MELANIE M. TRENT, PAUL 8
ARONZON, NOBLE FINCO LIMITED,
NOBLE NEWCO SUB LIMITED, and THE
DRILLING COMPANY OF 1972 A/S. DEMAND FOR JURY TRIAL
Defendants.

Plaintiff, Phuong Le (“Plaintiff”), by and through her attorneys, alleges upon information
and belief, except for those allegations that pertain to her, which are alleged upon personal
knowledge, as follows:

SUMMARY OF THE ACTION

1. Plaintiff brings this action against Noble Corporation (“Noble” or the “Company”,
and the Company’s Board of Directors (the “Board” or the “Individual Defendants”) for violations
of Sections 14(a) and 20(a) of the Securities and Exchange Act of 1934 (the “Exchange Act”) as
a result of efforts to sell the Company to The Drilling Company of 1972 A/S (“Maersk Drilling”),
through merger vehicles Noble Finco Limited (“Topco”) and Noble Newco Sub Limited (“Merger
Sub” and together with Noble, the Board, TopCo and Maersk Drilling, the “Defendants”) and
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enjoin an upcoming stockholder vote on an all stock proposed transaction (the “Proposed
Transaction”).

2. The terms of the Proposed Transaction were memorialized in a November 10, 2021,
filing with the Securities and Exchange Commission (“SEC”) on Form 8-K attaching the definitive
Agreement and Plan of Merger (the “Merger Agreement”). Under the terms of the Merger
Agreement, Noble and Maersk Drilling will merge into TopCo. Pursuant to the terms of the
Proposed Transaction, each outstanding Noble share and penny warrant will be converted into the
right to receive one share of Topco, and each issued tranche 1, tranche 2 and tranche 3 warrant
will be converted into a warrant to purchase one share of Topco. Additionally, Maersk Drilling
shareholders may exchange each Maersk Drilling share for 1.6137 Topco shares, and will in lieu
of their entitlement to certain Topco shares have the ability to elect cash consideration for up to
USD 1,000 of their Maersk Drilling shares (payable in DKK), subject to an aggregate cash
consideration cap of USD 50 million (excluding any cash paid for fractional shares). Pursuant to
the terms of the business combination agreement, upon closing of the transaction, the Maersk
Drilling shareholders and the Noble shareholders will each own approximately 50% of the
outstanding shares of Topco. As a result, the Plaintiff's interests will be significantly diluted.

3. Thereafter, on December 20, 2021, TopCo filed a Registration Statement on Form
S-4 (the “Registration Statement”) with the SEC in support of the Proposed Transaction.

4. In violation of the Exchange Act, Defendants caused to be filed the materially
deficient Registration Statement on December 20, 2021 with the SEC in an effort to secure
Plaintiff's vote in favor of the Proposed Transaction. The Registration Statement is materially
deficient, deprives Plaintiff of the information necessary to make an intelligent, informed and
rational decision of whether to vote in favor of the Proposed Transaction, and is thus in violation
of the Exchange Act. As detailed below, the Registration Statement omits and/or misrepresents
material information concerning, among other things: (a) the sales process and in particular certain

conflicts of interest for management; (b) the financial projections for Noble and Maersk Drilling,
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provided by Noble and Maersk Drilling to the Board’s financial advisor Ducera and DNB ASA
(“DNB”) and Maersk Drilling’s financial advisor J.P. Morgan Securities plc (“J.P. Morgan”); and
(c) the data and inputs underlying the financial valuation analyses, if any, that purport to support
the fairness opinions created by DNB and J.P. Morgan, if any, and provide to the Company and
the Board.

SF Absent judicial intervention, the Proposed Transaction will be consummated,

resulting in irreparable injury to Plaintiff. This action seeks to enjoin the Proposed Transaction.

PARTIES
6. Plaintiff is a citizen of Pennsylvania and, at all times relevant hereto, has been a
Noble stockholder.
7. Defendant Noble is a leading offshore drilling contractor for the oil and gas

industry. Noble is incorporated under the laws of the Cayman Islands and has its principal place
of business at 13135 Dairy Ashford, Suite 800, Sugar Land, Texas, 77478. Shares of Noble
common stock are traded on the New York Stock Exchange under the symbol “NE.”

8. Defendant Robert W. Eifler ("Eifler") has been a Director of the Company at all
relevant times. In addition, Eifler as the Company’s President and Chief Executive Officer
(“CEO”).

9. Defendant Patrick J. Bartels, Jr. “Bartels, Jr.”) has been a director of the Company
at all relevant times.

10. Defendant Alan J. Hirshberg (“Hirshberg ") has been a director of the Company
at all relevant times.

11. Defendant Ann Pickard (“Pickard") has been a director of the Company at all
relevant times.

12. Defendant Charles Sledge ("Sledge") has been a director of the Company at all

relevant times.
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13. Defendant Melanie M. Trent (“Trent”) has been a director of the Company at all
relevant times.

14. Defendant Paul Aronzon (“Aronzon”) has been a director of the Company at all
relevant times.

15. Defendants identified in f] 9 - 15 are collectively referred to as the “Individual
Defendants.”

16. Defendant Maersk Drilling provides responsible drilling services to energy
companies worldwide. Maersk Drilling is headquartered in Denmark and its shares are traded on
the Nasdaq First North Denmark under the symbol “DRLCO.”

17. Defendants TopCo and Merger Sub are wholly owned subsidiaries and sub-
subsidiaries of Noble, respectively, created to effectuate the Proposed Transaction.

JURISDICTION AND VENUE

18. This Court has subject matter jurisdiction pursuant to Section 27 of the Exchange
Act (15 U.S.C. § 78aa) and 28 U.S.C. § 1331 (federal question jurisdiction) as Plaintiff alleges
violations of Section 14(a) of the Exchange Act. This action is not a collusive one to confer
jurisdiction on a court of the United States, which it would not otherwise have.

19. Personal jurisdiction exists over each defendant either because the defendant
conducts business in or maintains operations in this District, or is an individual who is either
present in this District for jurisdictional purposes or has sufficient minimum contacts with this
District as to render the exercise of jurisdiction over defendant by this Court permissible under
traditional notions of fair play and substantial justice.

20. Venue is proper in this District pursuant to 28 U.S.C. § 1391, because each of the
Individual Defendants, as Company officers or directors, has extensive contacts within this
District; for example, the Company’s stock trades on the New York Stock Exchange which is

headquartered in this District.
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SUBSTANTIVE ALLEGATIONS

Company Background

21. Noble, together with its subsidiaries, operates as an offshore drilling contractor for
the oil and gas industry worldwide. The Company provides contract drilling services to the oil and
gas industry through its fleet of mobile offshore drilling units. As of June 04, 2021, it operated a
fleet of 24 offshore drilling units, which include 12 drillships and semisubmersibles, and 12
jackups. The Company was formerly known as Noble Holding Corporation plc. Noble was
founded in 1921 and is headquartered in Sugar Land, Texas.

22. On August 3, 2021, the Company reported positive financial results in its most
recent Press Release before the Proposed Transaction for the Second Quarter 2021. For example,
the Company reported milestones such as revenue for the second quarter of 2021 totaled $200
million compared to $159 million in the combined first quarter of 2021.

23. Speaking on the results, Defendant CEO Eifler commented in the July 15, 2021
Press Release, “‘I am pleased with the continued strong execution in the second quarter
demonstrated by the entire Noble team. During the quarter, we delivered safety and uptime
performance to our customers that is outstanding by any measure. Noble's achievements in the
second quarter also validated our rationale behind the Pacific Drilling acquisition, which was
announced in March and closed in April. Specifically, the team has already signed three contracts
on legacy Pacific Drilling rigs and retired two of its stacked drillships. The integration of Pacific
Drilling's fleet into Noble's operations is nearly complete and we are on track to deliver the
identified synergies by the end of the third quarter this year, three months ahead of schedule. In
addition, we successfully ramped up four Noble rigs and returned them to dayrate while also
mobilizing the Noble Sam Croft to a new country and customer, all in the midst of Covid-related
travel restrictions that continue to make logistics for our crews and equipment more difficult. These
accomplishments reinforce my trust in Noble's people to manage significant operational challenges

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without compromising service or safety.
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24. The financials and optimism are not an anomaly, but rather, are indicative of a trend
of continued success and future potential success by Noble. Clearly, this will come at the expense
of the Noble shareholders who will be significantly diluted, thereby depriving Plaintiff and other
public stockholders of the Company the opportunity to reap the full benefits of Noble’s present
and future success.

The Flawed Sales Process

25. As detailed in the Registration Statement, the process deployed by the Individual
Defendants was flawed and inadequate, was conducted out of the self-interest of the Individual
Defendants and was designed with only one concern in mind — to purchase Sinclair by any means
necessary irrespective of the dilutive effect on Company stockholder such an action would have.

26. Primarily, the Registration Statement gives no adequate explanation for why the
Board agreed to a transaction in which the public stockholders of the Company, including Plaintiff,
would receive nothing other than the dilution of the value of their shares through the Proposed
Transaction.

27. Notably, the Registration Statement fails to indicate whether an independent
committee of independent and disinterested board members was created to run the sales process
on behalf of the Noble Board.

28. In addition, the Registration Statement is also unclear as to the nature of any non-
disclosure agreement entered into between Noble and any potentially interested third party,
including Maersk Drilling, as part of the sales process, and if the terms of any such agreements
differed from one another, and in what way, including the specific nature of any included standstill
or “don’t-ask-don’t-waive” provisions contained therein.

29. It is not surprising, given this background to the overall sales process, that it was
conducted in a completely inappropriate and misleading manner.

The Proposed Transaction
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30. On November 10, 2021, Noble and Maersk Drilling issued a joint press release

announcing the Proposed Transaction. The press release stated, in relevant part:

Sugar Land and Copenhagen, 10 November 2021 — Noble Corporation (NYSE:
NE) (“Noble”) and The Drilling Company of 1972 A/S (CSE: DRLCO) (“Maersk
Drilling”) today announced that they have entered into a definitive business
combination agreement to combine in a primarily all-stock transaction. Following
the completion of the transaction, the Maersk Drilling shareholders and Noble
shareholders will each own approximately 50% of the outstanding shares of the
combined company. The combined company will be named Noble Corporation and
its shares will be listed on the New York Stock Exchange (“NYSE”) and Nasdaq
Copenhagen.

Noble and Maersk Drilling share a very strong conviction about the compelling
industrial logic for taking this step to create a differentiated offshore drilling
company with the scale, capabilities, and resources to successfully serve a broad
range of customers. The combined company will have a modern, high-end fleet of
floaters and jackup rigs across benign and harsh environments able to meet the
needs of customers in the most attractive oil and gas basins. This transaction will
unite and leverage the strong capabilities of Noble and Maersk Drilling, which both
have decades of experience, differentiated value propositions, and unwavering
commitments to best-in-class safety and service quality.

The combination is expected to generate estimated annual run-rate synergies of
USD 125 million, which will create significant value for shareholders. The
combined company will benefit from a diverse revenue mix, a robust contract
backlog with significant earnings visibility, a solid balance sheet, and a strong free
cash flow potential, supporting the potential for return of capital to shareholders
while providing resiliency through the cycle.

The business combination agreement has been unanimously approved by the
Boards of Directors of Noble and Maersk Drilling, and the transaction is also
supported by Noble’s top three shareholders, which collectively currently own
approximately 53% of Noble shares, and APMH Invest A/S which currently owns
approximately 42% of the share capital and votes of Maersk Drilling. In addition,
certain foundations related to APMH Invest A/S, which currently own
approximately 12% of the share capital and votes of Maersk Drilling, have
expressed their intention to support the transaction.

Maersk Drilling’s Chairperson of the Board of Directors, Claus V. Hemmingsen,
said: “This combination carries strong industry logic. With the combination we are
creating a differentiated provider of offshore drilling services, which will be able
to enhance the customer experience through increased scale, global reach, and
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industry-leading innovation. The combination will create value for all shareholders
and will offer investors a unique opportunity to benefit from the market recovery,
a robust financial position and strong free cash flow potential, all paving the way
for the potential return of capital to shareholders.”

Noble’s Chairperson of the Board of Directors, Charles M. (Chuck) Sledge, said:
“The combination of Noble and Maersk Drilling will create a leading offshore
driller with global scale, a strong balance sheet and significant free cash flow
generation potential. The transaction will be accretive to free cash flow per share,
and I am confident that this combination will deliver meaningful value to all
shareholders.”

Strategic rationale

The combination of Noble and Maersk Drilling is underpinned by a compelling
strategic rationale for all stakeholders:

Creating a world class offshore driller: The combined company will benefit from a
modern, high-end fleet comprising of 20 floaters and 19 jackup rigs across benign
and harsh environments, which will serve a broad portfolio of high quality, blue-
chip customers.

Enhancing the customer experience: The combination will bring together two
complementary cultures with an unwavering commitment to best-in class safety
performance and customer satisfaction. The combined company will be a leader
and first-mover in innovation and sustainability.

Accretive to all shareholders: The realization of the potential annual cost synergies
of USD 125 million is expected to be front-loaded with the full potential to be
realized within two years after closing of the transaction. The synergies are
expected to be accretive to free cash flow per share. The combined company’s scale
will significantly enhance its cost-competitiveness.

Platform for strong cash flow generation and distribution: The combined company
is expected to have a normalized free cash flow potential of up to USD 375 million
in 2023 and onwards with a highly attractive free cash flow yield potential, and
additional cash flow growth stemming from the recovery of the international
offshore drilling market. The balance sheet of the combined company will be best-
in class with low net leverage and strong liquidity including a combined cash
balance of approximately USD 900 million, providing resiliency through the cycle
and allowing the combined company to focus on implementing a sustainable return
of capital policy for shareholders.
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Pro-forma financials

In the last twelve months ended September 2021, Noble and Maersk Drilling had
combined pro-forma revenue of approximately USD 2.1 billion. As of 30
September 2021 (pro-forma for the asset divestitures announced by Noble and
Maersk Drilling), the companies had a combined cash balance of approximately
USD 900 million resulting in net debt of approximately USD 600 million with no
newbuild capex commitments. As of 30 September 2021, the companies had
revenue backlog of USD 2.4 billion (pro-forma for the asset divestitures).

Leadership team

Upon the closing of the transaction, Robert W. Eifler, Noble’s President and Chief
Executive Officer, will become President and Chief Executive Officer of the
combined company and will be a member of the Board of Directors.

Commenting on the transaction, Robert W. Eifler stated, “Both Noble and Maersk
Drilling have many decades of history as leaders in the offshore drilling industry. I
look forward to the future as these two great organizations come together to create
a stronger combined company. Our shared passion for safety and operational
performance will drive better service for our customers while delivering better
potential returns to our investors.”

The combined company will have a seven-member Board of Directors with
balanced representation from Noble and Maersk Drilling. Initially, the Board of
Directors will be comprised of three directors designated by Noble, three directors
designated by Maersk Drilling, and Robert W. Eifler. Charles M. (Chuck) Sledge
will become chairman of the Board of Directors jointly appointed by Noble and
Maersk Drilling. Claus V. Hemmingsen will be one of the three directors
designated by Maersk Drilling.

The combined company will be headquartered in Houston, Texas, and will maintain
a significant operating presence in Stavanger, Norway, to retain proximity to
customers and support operations in the Norwegian sector and the broader North
Sea, and to ensure continued access to talent.

Transaction terms and structure

The transaction will be implemented by way of (i) a merger of Noble with and into
a wholly owned subsidiary of Noble Finco Limited, a private limited company
formed under the laws of England and Wales and an indirect, wholly owned
subsidiary of Noble (“Topco”), and (ii) a Danish voluntary tender exchange offer
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by Topco to Maersk Drilling shareholders. In connection with the merger, (x) each
outstanding Noble share and penny warrant will be converted into the right to
receive one share of Topco, and (y) each issued tranche 1, tranche 2 and tranche 3
warrant will be converted into a warrant to purchase one share of Topco.

Additionally, pursuant to the exchange offer, Maersk Drilling shareholders may
exchange each Maersk Drilling share for 1.6137 Topco shares, and will in lieu of
their entitlement to certain Topco shares have the ability to elect cash consideration
for up to USD 1,000 of their Maersk Drilling shares (payable in DKK), subject to
an aggregate cash consideration cap of USD 50 million (excluding any cash paid
for fractional shares). Pursuant to the terms of the business combination agreement,
upon closing of the transaction, the Maersk Drilling shareholders and the Noble
shareholders will each own approximately 50% of the outstanding shares of Topco,
and those shares will be listed on both the NYSE and Nasdaq Copenhagen. The
approximate 50% ownership percentage of the Maersk Drilling and Noble
shareholders is calculated using 66.6 million shares for Noble shareholders (which
includes approximately 6.5 million penny warrants and excludes dilution from
outstanding warrant tranches and share based compensation plans) and assumes
that all Maersk Drilling shares are tendered in the exchange offer for shares.

The transaction is subject to Noble shareholder approval, acceptance of the
exchange offer by holders of at least 80% of Maersk Drilling shares, merger
clearance and other regulatory approvals, listing on the NYSE and Nasdaq
Copenhagen, and other customary conditions. The transaction is targeted to close
in mid-2022.

The Materially Misleading and/or Incomplete Registration Statement

31. On December 20, 2021, the Noble Board and Maersk Drilling caused to be filed
with the SEC a materially misleading and incomplete Registration Statement that, in violation the
Exchange Act, failed to provide Plaintiff in her capacity as a Company stockholder with material
information and/or provides materially misleading information critical to the total mix of
information available to Plaintiff concerning the financial and procedural fairness of the Proposed

Transaction.

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Omissions and/or Material Misrepresentations Concerning the Sales Process leading up

to the Proposed Transaction

32. Specifically, the Registration Statement fails to disclose material information

concerning the process conducted by the Company and the events leading up to the Proposed

Transaction. In particular, the Registration Statement fails to disclose:

a.

Adequate reasoning as to why the Board agreed to a transaction in which the
public stockholders of the Company, including Plaintiff, would receive nothing
other than to have their shares diluted in value;

Specific information regarding whether a committee of independent and
disinterested Company board members was created to run the process, and if
not, the specific reasons why;

Whether any confidentiality agreements entered into by the Company with
Maersk Drilling differed from any other unnamed confidentiality agreement
entered into between the Company and potentially interested third parties if any,
and if so, in what way;

All specific conditions under which any standstill provision contained in any
entered confidentiality agreement entered into between the Company and
potentially interested third parties throughout the sales process, including
Maersk Drilling, would fall away;

Communications regarding post-transaction employment during the
negotiation of the underlying transaction must be disclosed to stockholders.
Communications regarding post-transaction employment during the
negotiation of the underlying transaction must be disclosed to stockholders.
This information is necessary for stockholders to understand potential conflicts
of interest of management and the Board, as that information provides
illumination concerning motivations that would prevent fiduciaries from acting

solely in the best interests of Plaintiff and Company stockholders.

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Omissions and/or Material Misrepresentations Concerning Noble and Maersk Drilling

Financial Projections

33. The Registration Statement fails to provide material information concerning
financial projections for Noble and Maersk Drilling provided to and relied upon by DNB and J.P.
Morgan in their analyses. The Registration Statement discloses financial projections for the
Company which are materially misleading

34. The Registration Statement should have, but fails to provide, certain information in
the projections for Noble and Maersk Drilling that were provided to the Board, DNB, and J.P.
Morgan. Courts have uniformly stated that “projections ... are probably among the most highly-
prized disclosures by investors. Investors can come up with their own estimates of discount rates
or [] market multiples. What they cannot hope to do is replicate management’s inside view of the
company’s prospects.” In re Netsmart Techs., Inc. S’holders Litig., 924 A.2d 171, 201-203 (Del.
Ch. 2007).

35. With respect to Noble Case A, Noble Case B, Noble Projections: Maersk Drilling
Case A, and Noble Projections: Maersk Drilling Case B projections provided, the Registration
Statement fails to disclose material line items for the following metrics:

a. Adjusted EBITDA, including all underlying necessary metrics, adjustments,
and assumptions, including specifically: net income (loss) from continuing
operations; income taxes; interest income and other, net; gain (loss) on
extinguishment of debt, net; interest expense, net of amounts capitalized; loss
on impairment; reorganization items, net; certain corporate legal expenses and
depreciation and amortization expense; and

b. Unlevered Free Cash Flow, including all underlying necessary metrics,
adjustments, and assumptions, including specifically: capital expenditures, cash
taxes, any changes in net working capital, stock based compensation and

proceeds from the sale of assets (including Noble’s recent transaction with

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ADES International Holding or Maersk Drilling’s recent transaction with
Havila Sirius, as applicable).

36. This information is necessary to provide Plaintiff in her capacity as a Company
stockholder a complete and accurate picture of the sales process and its fairness. Without this
information, Plaintiff is not fully informed as to Defendants’ actions, including those that may
have been taken in bad faith, and cannot fairly assess the process.

37. In addition, while the Registration Statement provides projection data prepared by
Noble management for both Noble and Maersk Drilling, it fails to provide the same as prepared
by Maersk Drilling management, despite such missing information being the basis of the financial
analyses performed by J.P. Morgan. Such information must be provided.

38. | Without accurate projection data presented in the Registration Statement, Plaintiff
is unable to properly evaluate the Company’s true worth, the accuracy of DNB and J.P. Morgan’s
financial analyses or make an informed decision whether to vote in favor of the Proposed
Transaction. As such, the Board has violated the Exchange Act by failing to include such
information in the Registration Statement.

Omissions and/or Material Misrepresentations Concerning the Financial Analyses by

DNB

39. In the Registration Statement, DNB describes its fairness opinion and the various
valuation analyses performed to render such opinion. However, the descriptions fail to include
necessary underlying data, support for conclusions, or the existence of, or basis for, underlying
assumptions. Without this information, one cannot replicate the analyses, confirm the valuations
or evaluate the fairness opinion.

40. | With respect to the Noble - Publicly Traded Company Valuation Analysis, the
Registration Statement fails to disclose the following:

a. The specific metrics for each selected public company analyzed; and

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f.

The specific inputs and assumptions used to determine the selected reference
range of range of $102 million to $160 million implied value per 7G equivalent
unit on a backlog adjusted basis as applied to Noble’s 7G equivalent rigs;

The specific estimated value of Noble’s remaining value of firm contract
backlog as of September 30, 2021 utilized;

The sale proceeds received from Noble’s recent transaction with ADES
International Holding utilized;

Noble’s net debt as of September 30, 2021 utilized; and

The specific dilution from warrants utilized.

41. With respect to the Noble — Useful Life Discounted Cash Flow Analysis, the

Registration Statement fails to disclose the following:

a.

d.

é.

The net present value of projected unlevered free cash flows generated by
Noble’s fleet of rigs from October 1, 2021 through the end of their useful lives
as estimated by the management of Noble;

The specific inputs and assumptions used to determine the utilized discount rate
range of 9.5% to 11.5%;

Noble’s estimated weighted average cost of capital utilized;

Noble’s net debt as of September 30, 2021 utilized; and

The specific dilution from warrants utilized.

42. With respect to the Noble — 5-Year Discounted Cash Flow Analysis, the

Registration Statement fails to disclose the following:

a.

The net present value of projected unlevered free cash flows for the fourth
quarter of Noble’s fiscal year 2021 through Noble’s fiscal year 2026;

The specific terminal values calculated;

The specific inputs and assumptions used to determine the utilized exit adjusted

EBITDA multiple range of 5.0x to 7.0x;

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d. The specific inputs and assumptions used to determine the utilized discount rate
range of 9.5% to 11.5%; and
e. Noble’s estimated weighted average cost of capital utilized.

43. With respect to the Maersk Drilling - Publicly Traded Company Valuation
Analysis, the Registration Statement fails to disclose the following:
a. The specific metrics for each selected public company analyzed; and

b. The specific inputs and assumptions used to determine the selected reference
range of range of $102 million to $160 million implied value per 7G equivalent
unit on a backlog adjusted basis as applied to Maersk Drilling’s 7G equivalent
rigs;

c. The specific estimated value of Maersk Drilling’s remaining value of firm
contract backlog as of September 30, 2021 utilized;

d. The sale proceeds received from Maersk Drilling recent transaction with Havila
Sirius utilized; and

e. Maersk Drilling’s net debt as of September 30, 2021 utilized.

44. With respect to the Maersk Drilling — Useful Life Discounted Cash Flow
Analysis, the Registration Statement fails to disclose the following:

a. The net present value of projected unlevered free cash flows generated by
Maersk Drilling’s fleet of rigs from October 1, 2021 through the end of their
useful lives as estimated by the management of Noble;

b. The specific inputs and assumptions used to determine the utilized discount rate
range of 9.5% to 11.5%;

c. Maersk Drilling’s estimated weighted average cost of capital utilized; and

d. Maersk Drilling’s net debt as of September 30, 2021 utilized.

45, With respect to the Maersk Drilling — 5-Year Discounted Cash Flow Analysis, the

Registration Statement fails to disclose the following:

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a. net present value of projected unlevered free cash flows for the fourth quarter
of Maersk Drilling’s fiscal year 2021 through Maersk Drilling’s fiscal year
2026;

b. The specific terminal values calculated;

c. The specific inputs and assumptions used to determine the utilized exit adjusted
EBITDA multiple range of 5.0x to 7.0x;

d. The specific inputs and assumptions used to determine the utilized discount rate
range of 9.5% to 11.5%; and

e. Maersk Drilling’s estimated weighted average cost of capital utilized.

46. These disclosures are critical for Plaintiff to be able to make an informed decision
on whether to vote in favor of the Proposed Transaction.

47. Without the omitted information identified above, Plaintiff is missing critical
information necessary to evaluate whether the proposed consideration truly maximizes her value
and serves her interest as a stockholder. Moreover, without the key financial information and
related disclosures, Plaintiff cannot gauge the reliability of the fairness opinion and the Board’s
determination that the Proposed Transaction is in her best interests as a public Noble stockholder.
As such, the Board has violated the Exchange Act by failing to include such information in the
Registration Statement.

Omissions and/or Material Misrepresentations Concerning the Financial Analyses by J.P.

Morgan

48. In the Registration Statement, J.P. Morgan describes its fairness opinion and the
various valuation analyses performed to render such opinion. However, the descriptions fail to
include necessary underlying data, support for conclusions, or the existence of, or basis for,
underlying assumptions. Without this information, one cannot replicate the analyses, confirm the
valuations or evaluate the fairness opinion.

49. _ As an initial matter, J.P. Morgan describes financial projections prepared by

Maersk Drilling management both for Maersk Drilling and for Noble upon which J.P. Morgan

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relied but which were not provided in the Registration Statement. Such information must be

provided.

50. With respect to the Discounted Cash Flow Analysis, the Registration Statement

fails to disclose the following:

a.

The specific inputs and assumptions used to determine the utilized discount rate
range of 9.1% to 11.1%;

Noble’s estimated weighted average cost of capital utilized;

Maersk Drilling’s estimated weighted average cost of capital utilized;

The specific net debt and other adjustments for Noble as of June 30, 2021
utilized;

The specific net debt and other adjustments for Maersk Drilling as of June 30,
2021 utilized;

The specific inputs and assumptions used to determine the utilized LT EBITDA
Margins range of 37.5% to 42.5%;

The specific inputs and assumptions used to determine the utilized discount rate
of 10.1% for Maersk Drilling;

The specific inputs and assumptions used to determine the utilized midpoint of

the discount rates ranging for 9.0% to 11.0% for Noble;

51. With respect to the Discounted Cash Flow-Based Value Creation Analysis, the

Registration Statement fails to disclose the following:

a.

The estimated value of the Synergies utilized.

52. These disclosures are critical for Plaintiff to be able to make an informed decision

on whether to vote in favor of the Proposed Transaction.

53. Without the omitted information identified above, Plaintiff is missing critical

information necessary to evaluate whether the proposed consideration truly maximizes her value

and serves her interest as a stockholder. Moreover, without the key financial information and

related disclosures, Plaintiff cannot gauge the reliability of the fairness opinion and the Board’s

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determination that the Proposed Transaction is in her best interests as a public Noble stockholder.
As such, the Board has violated the Exchange Act by failing to include such information in the
Registration Statement.
FIRST COUNT
Violations of Section 14(a) of the Exchange Act
(Against All Defendants)

54. Plaintiff repeats all previous allegations as if set forth in full herein.

55. Defendants have disseminated the Registration Statement with the intention of
soliciting stockholders, including Plaintiff, to vote their shares in favor of the Proposed
Transaction.

56. Section 14(a) of the Exchange Act requires full and fair disclosure in connection
with the Proposed Transaction. Specifically, Section 14(a) provides that:

It shall be unlawful for any person, by the use of the mails or by any means or

instrumentality of interstate commerce or of any facility of a national securities

exchange or otherwise, in contravention of such rules and regulations as the

[SEC] may prescribe as necessary or appropriate in the public interest or for the

protection of investors, to solicit or to permit the use of her name to solicit any

proxy or consent or authorization in respect of any security (other than an

exempted security) registered pursuant to section 78/ of this title.

57. As such, SEC Rule 14a-9, 17 C.F.R. 240.14a-9, states the following:

No solicitation subject to this regulation shall be made by means of any proxy
statement, form of proxy, notice of meeting or other communication, written or
oral, containing any statement which, at the time and in the light of the
circumstances under which it is made, is false or misleading with respect to any
material fact, or which omits to state any material fact necessary in order to

make the statements therein not false or misleading or necessary to correct any

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statement in any earlier communication with respect to the solicitation of a
proxy for the same meeting or subject matter which has become false or
misleading.

58. The Registration Statement was prepared in violation of Section 14(a) because it is
materially misleading in numerous respects and omits material facts, including those set forth
above. Moreover, in the exercise of reasonable care, Defendants knew or should have known that
the Registration Statement is materially misleading and omits material facts that are necessary to
render them non-misleading.

59. The Individual Defendants had actual knowledge or should have known of the
misrepresentations and omissions of material facts set forth herein.

60. The Individual Defendants were at least negligent in filing a Registration Statement
that was materially misleading and/or omitted material facts necessary to make the Registration
Statement not misleading.

61. The misrepresentations and omissions in the Registration Statement are material to
Plaintiff, and Plaintiff will be deprived of her entitlement to decide whether to vote her shares in
favor of the Proposed Transaction on the basis of complete information if such misrepresentations
and omissions are not corrected prior to the stockholder vote regarding the Proposed Transaction.

SECOND COUNT

Violations of Section 20(a) of the Exchange Act
(Against all Individual Defendants)

62. Plaintiff repeats all previous allegations as if set forth in full herein.

63. The Individual Defendants were privy to non-public information concerning the
Company and its business and operations via access to internal corporate documents, conversations
and connections with other corporate officers and employees, attendance at management and

Board meetings and committees thereof and via reports and other information provided to them in

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connection therewith. Because of their possession of such information, the Individual Defendants
knew or should have known that the Registration Statement was materially misleading to Plaintiff
in her capacity as a Company stockholder.

64. The Individual Defendants were involved in drafting, producing, reviewing and/or
disseminating the materially false and misleading statements complained of herein. The Individual
Defendants were aware or should have been aware that materially false and misleading statements
were being issued by the Company in the Registration Statement and nevertheless approved,
ratified and/or failed to correct those statements, in violation of federal securities laws. The
Individual Defendants were able to, and did, control the contents of the Registration Statement.
The Individual Defendants were provided with copies of, reviewed and approved, and/or signed
the Registration Statement before its issuance and had the ability or opportunity to prevent its
issuance or to cause it to be corrected.

65. The Individual Defendants also were able to, and did, directly or indirectly, control
the conduct of Noble’s business, the information contained in its filings with the SEC, and its
public statements. Because of their positions and access to material non-public information
available to them but not the public, the Individual Defendants knew or should have known that
the misrepresentations specified herein had not been properly disclosed to and were being
concealed from Plaintiff and Company, and that the Registration Statement was misleading. Asa
result, the Individual Defendants are responsible for the accuracy of the Registration Statement
and are therefore responsible and liable for the misrepresentations contained herein.

66. The Individual Defendants acted as controlling persons of Noble within the
meaning of Section 20(a) of the Exchange Act. By reason of their position with the Company, the
Individual Defendants had the power and authority to cause Noble to engage in the wrongful

conduct complained of herein. The Individual Defendants controlled Noble and all of its

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employees. As alleged above, Noble is a primary violator of Section 14 of the Exchange Act and
SEC Rule 14a-9. By reason of their conduct, the Individual Defendants are liable pursuant to
section 20(a) of the Exchange Act

WHEREFORE, Plaintiff demands injunctive relief, in her favor, and against the
Defendants, as follows:

A. Enjoining the Proposed Transaction;

B. In the event Defendants consummate the Proposed Transaction, rescinding it and
setting it aside or awarding rescissory damages to Plaintiff;

C. Directing the Individual Defendants to comply with the Exchange Act to
disseminate a Registration Statement that does not contain any untrue statements of
material fact and that states all material facts required in it or necessary to make the
statements contained therein not misleading;

D. Awarding Plaintiff the costs of this action, including reasonable allowance for
Plaintiff’s attorneys’ and experts’ fees; and

E. Granting such other and further relief as this Court may deem just and proper.

DEMAND FOR JURY TRIAL

Plaintiff hereby demands a jury on all issues which can be heard by a jury.

Dated: January 13, 2022 BRODSKY & SMITH

By: CF —
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Counsel for Plaintiff

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